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Exhibit C - Shelly Assets & Liabilities

ASSETS

 Cash

 Value (estimate)                  Description                                         Notes
 $    358,841.00                C&N Bank Accounts                    Personal Checking - Included in SFAR Total

 Investments

 Value (estimate)                   Description                                           Notes
 $ 1,222,000.00                Shelly - Ocala House                              Sale less commission
 $    267,983.76            Shelly Investment Property                             Benton, St. Louis
 $    232,000.00            Shelly Investment Property             203 S. Ridgeview Ct, Azle, TX 76020 (07/20/16)
    Undetermined            Shelly Investment Property              4208 E FM 917, Alvarado, TX 76009 (11/01/16)
 $    200,100.00            Shelly Investment Property           9314 Diamond Ave., Kaufman, TX 75142 (12/22/16)
 $    233,500.00            Shelly Investment Property              404 Clemmer Court, Boyd, TX 76023 (06/01/17)
    Undetermined            Shelly Investment Property            334 Stillwater Court, Sumter, SC 29153 (12/01/17)
 $    134,700.00            Shelly Investment Property             3129 Linville Street, Lenior, NC 28645 (11/29/17)
 $    110,900.00            Shelly Investment Property           609 Weaver Street, Darlington, SC 29153 (06/04/18)
 $     75,000.00            Shelly Investment Property                2432 Berryhill Street, Harrisburg, PA 17104
 $    200,000.00            Shelly Investment Property               4614 Clarendon Street, Harrisburg, PA 17170
 $    100,000.00            Shelly Investment Property            2009 Holly Street, Harrisburg, PA 17104 (06/25/18)
 $    256,600.00            Shelly Investment Property                1700 North 3rd Street, Harrisburg, PA 17102
   Undetermined             Shelly Investment Property                   128 E. Main St., Palmyra, PA 17078
 $    248,925.07           Guaranteed Choice WL Policy                         Net Cash Surrender Value
 $    546,792.00           Kingdom Trust IRA Account                       Eric N. Shelly Roth IRA Account
 $       1,528.00                Trezor Account                         Trazor Magnetic Dock Account Balance
 $     50,000.00                     Coinbase
    Undetermined                  Edward Jones                               Account - XXX-XX747-1-0
    Undetermined                  Edward Jones                               Account - XXX-XX102-1-1
 $    446,613.00                  Edward Jones                                Account - 196-03170-1-2
 $           5.25                 Edward Jones                                Account - 196-11879-1-9
 $     17,592.00                  Edward Jones                                Account - 196-18737-1-6
 $    501,059.57                  Edward Jones                                Account - 196-22691-1-2
 $     16,720.71              Solera National Bank                              Account - 203-733-2
 $    847,000.00                    Gold Coins                                  Physical Possession
 $ 1,000,000.00              Tampa Bay Growth Fund                                  Eric Shelly
 $     38,501.51                 MCA Shares LP                                      Eric Shelly
 $    300,000.00                Vitruvian Ventures                                  Eric Shelly
 $     16,720.71                      Solera                                        Eric Shelly
 $     25,000.00                 Dakota Dog FLP                                   Montrose Note
 $     36,000.00                 Dakota Dog FLP                                   Woodview Note
 $       1,527.94                  Cold Wallets                                 Physical Possession
 $         425.00                 FIC RE1 LLC                                       Eric Shelly
 $ 7,127,194.52

 Residential Real Estate

 Value (estimate)                   Description                                        Address
 $    449,200.00       Shelly Residence Property - Net of Lien   977 Carol Circle, West Chester, PA 19380 (06/01/97)


LIABILITIES

 Value (estimate)                    Description                                       Notes
 $   (485,000.00)                    Kensington
 $   (485,000.00)

 $   7,091,394.52 Subtotal Q4
     6,876,984.67 Prior Quarter Estimate
 $     214,409.85 Net Change
